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 5
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 6   Joshua George
 7

 8                                  UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10                                     SACRAMENTO DIVISION

11
     THE UNITED STATES OF AMERICA,                        Case No. 18-CR-0266-WBS
12
                     Plaintiff,                           DEFENDANT JOSHUA GEORGE’S
13                                                        ADMINISTRATIVE MOTION TO
            v.                                            REMOVE DOCUMENT WITH
14                                                        PERSONAL INFORMATION (EXHIBIT A
15   JOSHUA BILAL GEORGE, ET AL.                          TO MOTION TO SUPPRESS, DOCKET
                                                          ENTRY NO. 109-1); ORDER
16                   Defendants.
                                                          Date: April 13, 2020
17                                                        Time: 9:00 a.m.
                                                          Court: Hon. William B. Shubb
18

19          Defendant Joshua George, through his undersigned counsel, files this Administrative
20   Motion to Remove the following document from ECF, submitted electronically on March 9, 2020
21   by defendant:
22          1.       Case No. 18-CR-0266-WBS; Docket Entry Number 109-1: Exhibit A to Motion to
23   Suppress.
24          This document contains personal information that was inadvertently not redacted.
25   Defendant has since filed a redacted “Replacement” Exhibit A to protect the privacy interests of
26   several individuals mentioned in the Exhibit. Defendant has contacted the ECF Help Desk
27

28
                                                      1
          UNITED STATES V. GEORGE; REQUEST TO REMOVE DOCUMENT; CASE NO. 18-CR-0266-WBS
       Case 2:18-cr-00266-WBS Document 113 Filed 03/11/20 Page 2 of 2


 1   regarding this issue and was instructed to file the redacted Exhibit, which defendant has done, and

 2   to then request that the original, incorrect Exhibit A be removed from the docket.

 3          For the foregoing reasons, Defendant respectfully requests that the Court grant Defendant’s

 4   Motion to Remove.

 5   Dated: March 9, 2020                          NOLAN BARTON & OLMOS, LLP

 6

 7                                                    /s/ Daniel B. Olmos
                                                   Daniel B. Olmos
 8                                                 Attorney for Defendant Joshua George
 9

10

11                                                 ORDER
12

13          Having reviewed and considered Defendant Joshua George’s Motion to Remove Document
14   with Personal Information, (Exhibit A to Defendant’s Motion to Suppress, Docket Entry No. 109-1)
15   which Defendant filed concurrently with Defendant’s Motion to Suppress on March 9, 2019, and
16   good cause appearing therefore, IT IS HEREBY ORDERED THAT, Defendant’s Motion shall be
17   granted.
18          IT IS SO ORDERED.
19   Dated: March 10, 2020
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          UNITED STATES V. GEORGE; REQUEST TO REMOVE DOCUMENT; CASE NO. 18-CR-0266-WBS
